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                                                                                                         3/5/2015 10:58:24 AM
                                                                                    Chris Daniel - District Clerk Harris County
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                            2015-12835/Court: 295                                                           By: Sherryl Dewalt
                                                                                                  Filed: 3/5/2015 10:58:24 AM

                               CAUSE NO.


DAVID VAUGHN AND STEPHANIE
HAWKINS-VAUGHN,                                          IN T H E DISTRICT COURT
     Plaintiffs,



vs.                                                      HARRIS COUNTY, T E

G E O V E R A SPECIALTY INSURANCE               §
SERVICES,                                       §
        Defendant.                              8              JUDICIAJ^ISTRICT

                             P L A I N T I F F S ' ORIGINAL P E T I T I O N
                                                                 IT
TO T H E HONORABLE JUDGE OF SAID COURT:

         COME NOW David Vaughn and Stephanie HaWkins-Vaughn (hereinafter "Plaintiffs"),

and complains of GeoVera Specialty Insurance <%i^ces (hereinafter "Geo Vera"). In support of

their claims and causes of action, Plaintiffs         respectfully show the Court as follows:

                                       DI       VERY LEVEL

         1.     Plaintiffs intend for|3!piovery to be conducted at Level 2, pursuant to Rule 190 of

the Texas Rules of Civil Proce

                                  JURISDICTION AND VENUE

         2.     Thi^pprt has jurisdiction to hear Plaintiffs' claims under Texas common law and

Texas s t a t u t o r y I n a r g u a b l y , the amount in controversy exceeds the minimum jurisdictional

limits of this^feourt. Venue is also proper, as all or a substantial part of the events giving rise to

this suit occurred within the city of Katy, in Harris County, Texas.

                                                PARTIES

         3.     Plaintiffs are individuals whose residence is located in Katy, Harris County,

Texas.
                                                                                                                   X r~~\\
PLAINTIFFS D A V I D V A U G H N A N D STEPHANIE HAWKINS-VAUGHN'S ORIGINAL PETITION                  Page 1
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          4.        Defendant GeoVera is a foreign insurer doing business in Texas, whose mailing

address is 4820 Business Center Drive, Suite 200, Fairfield, California 94534 which may be

served with process by serving this Original Petition and a copy of the citation on the Texas

Department of Insurance, 333 Guadalupe Street, Austin, Texas 78701, as its agent for service as

required by the Texas Insurance Code Section 804.103(c), where a foreig^^surer failed to

appoint or maintain a Texas agent for service of process.                                             ^

                                                      BACKGROUND                                  ^

          5.        This matter revolves largely around a first partyl^surance dispute regarding the

extent of damages and amount of loss suffered to the Plaro^ffs' Property, which is located at

4902 Barstow Bend Lane, Katy, Texas 77449, (the "Property"). In addition to seeking economic

and penalty based damages from Geo Vera, P l a i r ^ ^ also seek compensation from GeoVera for

damages caused by improperly investigating^^extensive losses associated with this case.
                                                            cr
          6.        Plaintiffs own the Property|^)

          7.        Prior to the occurrenM^in question, Plaintiffs purchased a residential insurance

policy from GeoVera to coverJim Property at issue in this case for a loss due to storm-related

events.        Plaintiffs' Propenyj) suffered storm-related damage. Through their residential policy,

HL13011343, Plaintiffe^fere objectively insured for the subject loss by Defendant.

        8.     Orjfr^around June 6, 2014, the Property suffered incredible damage due to storm
related condrasns.

          9.        In the aftermath, Plaintiffs relied on GeoVera to help begin the rebuilding process.

By and through their residential policy, Plaintiffs were objectively insured for the subject losses

in this matter.




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         10. Pursuant to their obligation as a policyholder, Plaintiffs made complete payment of

all residential insurance premiums in a timely fashion.                         Moreover, their residential policy

covered Plaintiffs during the time period in question.

         11.       Despite Plaintiffs' efforts, GeoVera continually failed and refused to pay Plaintiffs

in accordance with its promises under the Policy.

         12.     Moreover, GeoVera has failed to make any reasonable attempt to settle Plaintiffs'

claims in a fair manner, although its liability to the Plaintiffs under th^policy is without dispute.

         13.       In the months following, Plaintiffs provided infomation to GeoVera, as well as

provided opportunities for GeoVera to inspect the Property^^Pwever, GeoVera failed to conduct

a fair investigation into the damage to the Propert^^Moreover, GeoVera failed to properly

inspect the Property and its related damages, f ^ ^ " to properly request information, failed to

properly investigate the claim, failed to            tim^S^evaluate the claim, failed to timely estimate the

claim, and failed to timely and prop©^ report and make recommendations in regard to

Plaintiffs' claims.

         14.       Despite GeoVerg% improprieties, Plaintiffs continued to provide information

regarding the losses and(y|j^ related claim to GeoVera.                         Further, Plaintiffs made inquiries

                                  e
regarding the status ^ P i            losses, and payments.          Regardless, GeoVera failed and refused to

respond to the inquires, and failed to properly adjust the claim and the losses. As a result, to this

date, Plaintiliykave not received proper payment for their claim, even though notification was

provided.

          15.      GeoVera has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. GeoVera has furthermore failed to offer Plaintiffs

adequate compensation without any explanation why full payment was not being made.

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GeoVera did not communicate that any future settlements or payments would be forthcoming to

pay the entire losses covered under the policy.

          16.        GeoVera has further failed to affirm or deny coverage within a reasonable time.

Plaintiffs also did not receive timely indication of acceptance or rejection regarding the full and

entire claim in writing from GeoVera in a timely manner.                                                      J^,

          17.        GeoVera has, to date, refused to fully compensate Plaintiffs^uader the terms of the

policy for which Plaintiffs paid, even though it was GeoVera that fai|pr to conduct a reasonable

investigation. Ultimately, GeoVera performed a result-oriented4n|e^tigation of Plaintiffs' claims
                                                              oJ7A
that resulted in an unfair, biased and inequitable evaluation ^plaintiffs' losses.
          18.        GeoVera has failed to meet its obligmbns under the Texas Insurance Code
                                                                       •A
regarding timely acknowledging Plaintiffs' clairm^ beginning an investigation of Plaintiffs'

claims, and requesting all information rea^^oly necessary to investigate Plaintiffs' claims
                                                             cr
within the time period mandated by statu@)
        19.    As a result of the absrar issues, Plaintiffs did not receive the coverage for which
they had originally contracted^M-Jh GeoVera.                         Unfortunately, Plaintiffs have, therefore, been

forced to file this suit in wdjer to recover damages arising from the above conduct, as well as

overall from the unfan^fusal to pay insurance benefits.

          20. In a<jflion, GeoVera has failed to place adequate and proper coverage for Plaintiffs

causing Plairttjjfs to suffer further damages. As indicated below, Plaintiffs seek relief under the

common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.

                                             CONDTTTONS PRECEDENT

          21.       All conditions precedent to recovery by Plaintiffs have been met or has occurred.

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                                                        AGENCY

         22.       A l l acts by GeoVera were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of GeoVera and/or were completed in its normal and routine course and scope of

                                                                                                      It
employment with GeoVera.                                                                          ^
                                      CLAIMS AGAINST DEFENDANT                                ^

         23.       Plaintiffs hereby incorporate by reference all facts "^roT circumstances set forth

under the foregoing paragraphs.

                                                             A.

                                                    NEGLIGENC^p
         24.       GeoVera had and owed a legal duty<^)Plaintiffs to properly adjust the structural

and property damage and other insurance loss^fjKsociated with the Property. GeoVera breached

this duty in a number of ways, including buObt limited to the following:

                               GeoVera was |fe^cercise due care in adjusting and paying policy proceeds
                               regarding PMrrmffs' Property loss;

                   b.          GeoVeraPpra a duty to competently and completely handle and pay all
                               damag@a^sociated with Plaintiffs' Property; and/or

                   c.      0 G|pVera failed to properly complete all adjusting activities associated
                        ^ p i i t h Plaintiffs.

         25.       G&Vera's acts, omissions, and/or breaches did great damage to Plaintiffs, and

were a proximate cause of Plaintiffs' damages.

                                                             B.

                                           B R E A C H OF CONTRACT

         26.       Plaintiffs hereby incorporate by reference all facts and circumstances set forth

under the foregoing paragraphs.

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         27.        According to the policy that Plaintiffs purchased, GeoVera had the absolute duty

to investigate Plaintiffs' damages, and to pay Plaintiffs' policy benefits for the claims made due

to the extensive storm-related damages.

          28.       As a result of the storm-related event, Plaintiffs suffered extreme external and

                                                                                                              It
internal damages.                                                                                        <is|i9

          29.       Despite objective evidence of such damages, Geovl=a^ has breached its

contractual obligations under the subject insurance policy by failiaOb pay Plaintiffs benefits
relating to the cost to properly repair Plaintiffs' Property, as wel|aa)for related losses. As a result
                                                                      s)fo
of this breach, Plaintiffs have suffered actual and consequenl^rdamages.


                              VIOLATIONS OF TEXAS<DJ^CEPTIVE TRADE
                                PRACTICES ACT ANT*pE-IN-STATUTES

          30.       Plaintiffs hereby incorporate^ reference all facts and circumstances set forth

under the foregoing paragraphs.                        MS)

          31.       GeoVera's collectiye^fetions constitute violations of the DTPA, including but not

limited to, Sections 17.46(b) ( l ^ p l 4 ) , (20), (24), and Section 17.50(a) (4) of the Texas Business

& Commerce Code.                GeiaVJra collectively engaged in false, misleading, or deceptive acts or

                      oJS/Q>
practices that includedjpit were not limited to:
                    a
                        ^ C X Representing that an agreement confers or involves rights, remedies, or
                              obligations which it does not have or involve, or which are prohibited by
                              law;

                    b.         Misrepresenting the authority of a salesman, representative, or agent to
                               negotiate the final terms of a consumer transaction;

                     c.        Failing to disclose information concerning goods or services which were
                               known at the time of the transaction, and the failure to disclose such
                               information was intended to induce the consumer into a transaction into


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                            which the consumer would not have entered had such information been
                            disclosed;

                   d.       Using or employing an act or practice in violation of the Texas Insurance
                            Code;

                   e.       Unreasonably delaying the investigation, adjustment and resolution of
                            Plaintiffs' claim;

                   f.       Failure to properly investigate Plaintiffs' claim; and/^j

                   g.       Hiring and relying upon a biased engineer aW|$r adjuster to obtain a
                            favorable, result-oriented report to assist Gjgm&ra in low-balling and/or
                            denying Plaintiffs' damage claim.

         32.       As described in this Original Petition, GeoV^r|pepresented to Plaintiffs that their

insurance policy and GeoVera's adjusting and investitive services had characteristics or

benefits that it actually did not have, which g i v e ^ f l i n t i f f s the right to recover under Section

17.46(b)(5) of the DTPA.

         33.       As described in this OriginaT^etition, GeoVera represented to Plaintiffs that its

insurance policy and GeoVera's ajfnjsting and investigative services were of a particular

standard, quality, or grade wheqjhey were of another, which stands in violation of Section 17.46

(b)(7) of the DTPA.

         34.       By representing that GeoVera would pay the entire amount needed by Plaintiffs to

repair the damagg^peaused by the storm-related event and then not doing so, GeoVera has

violated   Sec^jgjp:7.46 (b)(5), (7) and (12) of the DTPA.
         35.       GeoVera has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies.                               This breach entitles

Plaintiffs to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.




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         36.       GeoVera's actions, as described herein, are unconscionable in that it took

advantage of Plaintiffs' lack of knowledge, ability, and experience to a grossly unfair degree.

GeoVera's unconscionable conduct gives Plaintiffs the right to relief under Section 17.50(a)(3) of

the DTPA.

         37.       GeoVera's conduct, acts, omissions, and failures, as describeJsfrT this Original

Petition, are unfair practices in the business of insurance in violation of^^eetion 17.50 (a) (4) of

the DTPA.                                                                                  ^

         38.       Plaintiffs are consumers, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by GeoVeJ^r/ their detriment. As a direct and

proximate result of GeoVera's collective acts and coMuct, Plaintiffs have been damaged in an

amount in excess of the minimum jurisdictional^pits of this Court, for which Plaintiffs now

sue. All of the above-described acts, omissterQ^and failures of GeoVera are a producing cause

of Plaintiffs' damages that are described i|Mus Original Petition.

         39.       Because GeoVera's^wtfective actions and conduct were committed knowingly

and intentionally, Plaintiffs are^^itled to recover, in addition to all damages described herein,

mental anguish damages aMadditional penalty damages, in an amount not to exceed three times

such actual damages^pr GeoVera having knowingly committed its conduct. Additionally,

Plaintiffs are ultimately entitled to recover damages in an amount not to exceed three times the

amount of r&ssM anguish and actual damages due to GeoVera having intentionally committed

such conduct.

         40.       As a result of GeoVera's unconscionable, misleading, and deceptive actions and

conduct, Plaintiffs have been forced to retain the legal services of the undersigned attorneys to

protect and pursue these claims on their behalf. Accordingly, Plaintiffs also seek to recover their

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costs and reasonable and necessary attorneys' fees as permitted under Section 17.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiffs may

show themselves to be justly entitled at law and in equity.

                                                             D.

                             VIOLATIONS OF TEXAS INSURANCE CODE                                        <^

         41.       Plaintiffs hereby incorporate by reference all facts and c|K$|^stances set forth

within the foregoing paragraphs.                                    o (O
        42.    GeoVera's actions constitute violations of the TexaMniurance Code, including but

not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and ^ M ) (codified as Section 541.060),

Article 21.21 Section 11(e) (codified as Section 5 4 1 ^ ^ ) , and Article 21.55 Section 3(f)

(codified as Section 542.058). Specifically, GeoVer#engaged in certain unfair or deceptive acts

or practices that include, but are not limited to^e|following:

                                                  ' A
                   a.        Failing to attempt, in(@»od faith, to effectuate a prompt, fair, and equitable
                             settlement of a c j ^ n with respect to which the insurer's liability has
                             become reasonife^rclear;
                   b.        Failing to provide promptly to a policyholder a reasonable explanation of
                             the basis^pkhe policy, in relation to the facts or applicable law, for the
                             insurer||)dfenial of a claim or for the offer of a compromise settlement of a
                                      7
                             cJairn^

                   c.       o ((^Refusing to pay a claim without conducting a reasonable investigation
                        j | ^ w i t h respect to the claim;

                             Forcing Plaintiffs to file suit to recover amounts due under the policy by
                             refusing to pay all benefits due;

                             Misrepresenting an insurance policy by failing to disclose any matter
                             required by law to be disclosed, including a failure to make such
                             disclosure in accordance with another provision of this code; and/or

                             Failing to pay a valid claim after receiving all reasonably requested and
                             required items from the claimant.


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         43.       Plaintiffs are the insured or beneficiary of a claim which was apparently valid as a

result of the unauthorized acts of GeoVera, and Plaintiffs relied upon these unfair or deceptive

acts or practices by GeoVera to their detriment. Accordingly, GeoVera became the insurer of

Plaintiffs.                                                                                               ^

         44.      As a direct and proximate result of GeoVera's acts and c o ^ ^ t , Plaintiffs have

been damaged in an amount in excess of the minimum jurisdictionaKmnits of this Court, for

which they now sue.                                                                  /~^P

         45.       Since a violation of the Texas Insurance Code~^,a direct violation of the DTPA,

and because GeoVera's actions and conduct were committed knowingly and intentionally,

Plaintiffs are entitled to recover, in addition to ajl^images described herein, mental anguish

damages and additional damages in an amou^fjf&t to exceed three times the amount of actual

damages, for GeoVera having knowingly G^nnitted such conduct. Additionally, Plaintiffs are

entitled to recover damages in an at$&|a& not to exceed three times the amount of mental and

actual damages for GeoVera having^mtentionally committed such conduct.

         46.       As a result of(j6§>lvera's unfair and deceptive actions and conduct, Plaintiffs have

been forced to retain t l ^ e g a l services of the undersigned attorneys to protect and pursue these

claims on their bqjj^j^ Accordingly, Plaintiffs also seeks to recover their costs and reasonable

and necessary^^rneys' fees as permitted under Section 17.50(d) of the Texas Business &

Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

Insurance Code and any other such damages to which Plaintiffs may show themselves justly

entitled by law and in equity.




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                                                - E.
                                BREACH OF T H E COMMON-LAW DUTY
                                 OF GOOD FAITH AND FAIR DEALING

         47.       Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.
                                                                                                      It
         48.       By its acts, omissions, failures and conduct, GeoVera has breached its common
law duty of good faith and fair dealing by denying Plaintiffs' claims o^Wdequately adjusting

and making an offer on Plaintiffs' claims without any reasonable bajjpand by failing to conduct

a reasonable investigation to determine whether there was a reasCii^ble basis for this denial.

         49.       GeoVera has also breached this duty by^areasonably delaying payment of

Plaintiffs' entire claims and by failing to settle Plaintiffs' claims, as GeoVera knew or should

have known that it was reasonably clear t h a t ^ p h t i f f s ' storm-related claims were covered.
                                                            cf
These acts, omissions, failures, and condu& By GeoVera is a proximate cause of Plaintiffs'
                                                        cr
damages.
                                                ^     F.
                                      B R E A C H OF FIDUCIARY DUTY

         50.       Plaintiffs her^^incorporate by reference all facts and circumstances in the

foregoing paragraphs.^ ^

         51.       Geo^ra had a fiduciary relationship, or in the alternative, a relationship of trust

and confideneej^th Plaintiffs. As a result, GeoVera owed a duty of good faith and fair dealing

to Plaintiffs. GeoVera breached that fiduciary in that:

                   a.        The transaction was not fair and equitable to Plaintiffs;

                   b.        GeoVera did not make reasonable use of the confidence that Plaintiffs
                             placed upon it;




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                    c.         GeoVera did not act in the utmost good faith and did not exercise the most
                               scrupulous honesty toward Plaintiffs;

                    d.         GeoVera did not place the interests of Plaintiffs before its own, and
                               GeoVera used the advantage of its position to gain a benefit for itself, at
                               Plaintiffs' expense;

                    e.         GeoVera placed itself in a position where its self-inter&sjymight conflict
                               with its obligations as a fiduciary; and/or           Sti*

                               GeoVera did not fully and fairly disclose all important information to
                               Plaintiffs concerning the sale of the policy.
                                                                                              ,»
          52.       GeoVera is liable for Plaintiffs' damages for b|e%lr of fiduciary duty, as such

damages were objectively caused by GeoVera's conduct,                              ojp
                                                                  g.
                                        UNFAIR INSURANCE PRACTICES

          53.       Plaintiffs hereby incorporate b^Spference all facts and circumstances in the

foregoing paragraphs.

          54.       Plaintiffs have satisfiea^Jll conditions precedent to bringing these causes of

action.      By its acts, omissions,(^^res, and conduct, GeoVera has engaged in unfair and

deceptive acts or practices i n t ^ business of insurance in violation of Chapter 541 of the Texas

Insurance Code.

          55.        Such.@pations include, without limitation, all the conduct described m this

Original Petition|pius GeoVera's failure to properly investigate Plaintiffs' claims. Plaintiffs also

include GeoVera's unreasonable delays in the investigation, adjustment, and resolution of

Plaintiffs' claims and GeoVera's failure to pay for the proper repair of Plaintiffs' Property, as to

which GeoVera's liability had become reasonably clear.

          56.       Additional violations include GeoVera's hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

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and denying Plaintiffs' storm-related damage and related claims.                            Plaintiffs further include

GeoVera's failure to look for coverage and give Plaintiffs the benefit of the doubt, as well as

GeoVera's misrepresentations of coverage under the subject insurance policy. Specifically,

GeoVera is also guilty of the following unfair insurance practices:

                   a.        Engaging in false, misleading, and deceptive acts o^jxractices in the
                             business of insurance in this case;

                   b.        Engaging in unfair claims settlement practices; < ^ '

                   c.        Misrepresenting to Plaintiffs pertinent facjs^j|^olicy provisions relating to
                             the coverage at issue;

                   d.        Not attempting in good faith to effeejuate a prompt, fair, and equitable
                             settlement of Plaintiffs' claims a ^ p ^ h i c h GeoVera's liability had become
                             reasonably clear;

                   e.        Failing to affirm or deny e^mirage of Plaintiffs' claims within a reasonable
                             time and failing within seasonable time to submit a reservation of rights
                             letter to Plaintiffs; ^ >

                   f.        Refusing to nay^^laintiffs' claims without conducting a reasonable
                             investigation  respect to the claims; and/or

                   g.        Failing to^rovide promptly to a policyholder a reasonable explanation of
                             the basiCm the insurance policy, in relation to the facts or applicable law,
                             for tffe|8enial of a claim or for the offer of a compromise settlement.

         57.       GeoVet<a*ros also breached the Texas Insurance Code when it breached its duty of

good faith and falplealing. GeoVera's conduct as described herein has resulted in Plaintiffs'

damages that^aje described in this Original Petition.

                                                             H.

                                             MISREPRESENTATION

         58.       Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.


PLAINTIFFS D A V I D V A U G H N A N D STEPHANIE H A W K I N S - V A U G H N ' S O R I G I N A L P E T I T I O N   Page 13
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         59.       GeoVera is liable to Plaintiffs under the theories of intentional misrepresentation,

or in the alternative, negligent misrepresentation. Essentially, GeoVera did not inform Plaintiffs

of certain exclusions in the policy. Misrepresentations were made with the intention that they

should be relied upon and acted upon by Plaintiffs who relied on the misrepresentations to their

detriment. As a result, Plaintiffs have suffered damages, including but not linpgd to loss of the

Property, loss of use of the Property, mental anguish and attorney's fee^^GeoVera is liable for

these actual consequential and penalty-based damages.                                   <jA.

                                                              L
                                                                                    < J
               COMMON-LAW FRAUD BY NEGLIGENT M ISREPRESENTATION

                                                                           if
         60.       Plaintiffs hereby incorporate by referencfe^all facts and circumstances in the
foregoing paragraphs.

         61.       Plaintiffs would show that GeoM^perpetrated fraud by misrepresentation (either

intentionally or negligently) by falsely representing a fact of materiality to Plaintiffs, who relied

upon such representations that ultiirygJ^ resulted in their injuries and damages. Alternatively,

GeoVera fraudulently concealed material facts from Plaintiffs, the result of which caused damage

to Plaintiffs as a result of the ^mi-related damages.

         62.       Specifica&c and as a proximate cause and result of this fraudulent concealment,

fraud and neglige,^^risrepresentation, all of which was perpetrated without the knowledge or

consent of ^ ^ ^ ^ f f s , Plaintiffs have sustained damages far in excess of the minimum

jurisdictional limits of this Court.

         63.       By reason of Plaintiffs' reliance on GeoVera fraudulent representations, negligent

misrepresentations and/or fraudulent concealment of material facts as described in this

complaint, Plaintiffs have suffered actual damages for which they now sue.



PLAINTIFFS D A V I D V A U G H N A N D STEPHANIE H A W K I N S - V A U G H N ' S O R I G I N A L P E T I T I O N   Page 14
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         64.       Plaintiffs further allege that because GeoVera knew that the misrepresentations

made to Plaintiffs were false at the time they were made, such misrepresentations are fraudulent,

negligent or grossly negligent on the part of GeoVera, and constitute conduct for which the law

allows the imposition of exemplary damages.

         65.       In this regard, Plaintiffs will show that they have incurred si^^cant litigation

                                                                                                     s
expenses, including attorneys' fees, in the investigation and prosecution ° ^ » " action.

         66.       Accordingly, Plaintiffs requests that penalty damagest^jprwarded against GeoVera

in a sum in excess of the minimum jurisdictional limits of this Gsuyt.

                                           WATVER AND E S T O P | y

         67.       Plaintiffs hereby incorporate by reference all facts and circumstances set forth

under the foregoing paragraphs.

         68.       GeoVera has waived and isfesSpped from asserting any defenses, conditions,

exclusions, or exceptions to coverage no^pntained in any Reservation of Rights or denial letters

to Plaintiffs.

                                       ^ \             DAMAGES

         69.       GeoVera's (jiejs have been the producing and/or proximate cause of damage to

Plaintiffs, and Plaintiifi|seek an amount in excess of the minimum jurisdictional limits of this

Court.

         70. %^More specifically, Plaintiffs seek monetary relief of no more than $100,000,

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney

fees.




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                                        ADDITIONAL DAMAGES & PENALTIES

          71.         GeoVera's conduct was committed knowingly and intentionally.                                    Accordingly,

GeoVera is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all

operative provisions of the Texas Insurance Code. Plaintiffs are, thus, clearly entitled to the 18%

                                                                                                               It
damages allowed by the Texas Insurance Code.
                                                      ATTORNEY F E E S

          72.         In addition, Plaintiffs are entitled to all reasonable ai^necessary attorneys' fees

pursuant to the Texas Insurance Code, DTPA, and sections 38^0^.005 of the Civil Practice and

Remedies Code.                                                                     ,;^r

                                                       JURYDEMA^iy

          73.         Plaintiffs demand a jury trial and^^Mers the appropriate fee with this Original

Petition.


                                           —
                                           R E O B E S T FOR          DISCLOSURE

          74.         Pursuant to the Texas Rules of Civil Procedure, Plaintiffs request that GeoVera
                                          V)
disclose all information andMmaterial as required by Rule 194.2, paragraphs (a) through (1),

and to do so within 50 d||$ of this request.

                                           REQUEST FOR PRODUCTION

                  <
          75.        5v&jrsuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

                a.      Please identify any person GeoVera expects to call to testify at the time of trial.

              b.     Please identify the persons involved in the investigation and handling of
             Plaintiff's claims for insurance benefits arising from damage relating to the underlying
             event, claims or the Property, which is the subject of this suit, and include a brief


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            description of the involvement of each person identified, their employer, and the date(s)
            of such involvement.

              c.    I f GeoVera or GeoVera's representatives performed any investigative steps in
            addition to what is reflected in the claims file, please generally describe those
            investigative steps conducted by GeoVera or any of GeoVera's representatives with
            respect to the facts surrounding the circumstances of the subject loss. Identify the
            persons involved in each step.

             d.   Please identify by date, author, and result the estimates, appraisals, engineering,
            mold and other reports generated as a result of GeoVera's inve&^gation.

              e.      Please state the following concerning notice of clak^pand timing of payment:

                             i.       The date and manner in which^C^oVera received notice of the
                                      claim;                       <>Ji5)
                             ii.      The date and manner in wlrijOrGeoVera acknowledged receipt
                                      of the claim;            <£ ^i     =




                             iii.     The date and manneiNin which GeoVera commenced
                                      investigation of the cfe^n;
                             iv.      The date and m a l ^ r in which GeoVera requested from the
                                      claimant all items, statements, and forms that GeoVera
                                      reasonably beMVed, at the time, would be required from the
                                      claimant; and,
                             v.       The dateJpT"manner in which GeoVera notified the claimant in
                                      writirj^^the acceptance or rejection of the claim.

             f.   Please identi6g=8y date, amount and reason, the insurance proceed payments
            made by GeoVera, ©^©n GeoVera's behalf, to the Plaintiff.

              g.    Have PSihitiff's claims for insurance benefits been rejected or denied in full or
            in part? If s^pate the reasons for rejecting/denying the claim.

              h.      ijiiten was the date GeoVera anticipated litigation?
              i ^ ^ Have any documents (including those maintained electronically) relating to the
            investigation or handling of Plaintiff's claims for insurance benefits been destroyed or
            disposed of? I f so, please identify what, when and why the document was destroyed,
            and describe GeoVera's document retention policy.

             j.    Does GeoVera contend that the insured premises was damaged by storm-related
            events and/or any excluded peril? I f so, state the general factual basis for this
            contention.


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              k.    Does GeoVera contend that any act or omission by the Plaintiff voided,
            nullified, waived or breached the insurance policy in any way? I f so, state the general
            factual basis for this contention.

              1.    Does GeoVera contend that the Plaintiff failed to satisfy any condition
            precedent or covenant of the policy in any way? If so, state the general factual basis for
            this contention.
                                                                                                      |t
              m. How is the performance of the adjuster(s) involved in h|Mling Plaintiff's
            claims evaluated? State the following:                   Cj^
                                                                                                1
                             i.        what performance measures are used; ari^^
                             ii.       describe GeoVera's bonus or incentive|g&n for adjusters.

                                                    CONCLUSION

         77.       Plaintiffs pray that judgment be entered,|Egamst GeoVera Specialty Insurance

Services, and that Plaintiffs be awarded all of thejr^amial damages, consequential damages,

prejudgment interest, additional statutory d a ^ ^ s , post judgment interest, reasonable and

necessary attorney fees, court costs and for^I|ksuch other relief, general or specific, in law or in

equity, whether pled or un-pled within, thfpbriginal Petition.

                                                        PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray they be awarded all such

relief to which they are<due-as a result of the acts of GeoVera Specialty Insurance Services, and

for all such other reli@|to which Plaintiffs may be justly entitled.




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                                                          Respectfully submitted,

                                                          THE VOSS LAW FIRM, P.C.




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